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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

                                               )
UNITED STATES OF AMERICA                       )
                                               )
               v.                              )   Case No. 1:19-DM-12-AJT-2
                                               )
JOHN DOE 2010R03793                            )
                                               )

                                              ORDER

       This matter comes before the Court on Chelsea Manning’s Motion to Reconsider

Sanctions, filed on May 31, 2019. [Doc. 14].

       By Order of May 16, 2019, the Court held Manning in civil contempt for refusing to testify

before the Grand Jury, as ordered. [Doc. 9]. The Court ordered that Manning be remanded to the

custody of the Attorney General until such time as she purges herself of the contempt or for the

life of the grand jury, but in no event longer than 18 months. [Doc. 9]. The Court also ordered

that if Manning did not purge herself of contempt within thirty days of the Order, she shall incur a

conditional fine of $500 per day until such time as she purges herself of the contempt; and if she

failed to purge herself of contempt within sixty (60) days after the date of the issuance of the Order,

a conditional fine of $1,000 per day until such time as she purges herself of contempt or for the

life of the grand jury. [Doc. 9].

       In her Motion to Reconsider Sanctions, Manning requests, among other things, a hearing

to address her financial resources to determine whether she is able to pay the fines that the Court

imposed. As Manning concedes, she carries the burden of producing evidence of an inability to

pay the fines. See Paramedics Electromedicina Comercial, Ltda. v. GE Med. Sys. Info. Techs.,
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Inc., 369 F.3d 645, 658 (7th Cir. 2004); In re Grand Jury Proceedings, 280 F.3d 1103, 1109 (7th

Cir. 2002); In re Grand Jury Witness, 835 F.2d 437, 443 (2d Cir. 1987); In re Dickinson, 763 F.2d

84, 88 (2d Cir. 1985). Manning has not produced any such evidence. The Government has

requested that, in advance of any hearing on the pending motion, the Court order Manning to

produce financial information that is relevant to her ability to pay the fines.

       The Government’s request is GRANTED. By June 28, 2019, Manning shall provide the

following information to the Government:

       1.      Manning shall complete, and sign under penalty of perjury, the CJA Form 23
               Financial Affidavit, found on the Court’s website;

       2.      Manning shall produce all statements for all financial accounts of any kind held by
               her, held by any other person on her behalf, and/or in which she maintained a
               financial interest, for the time period of May 17, 2017, to the present; and

       3.      Manning shall produce all existing or putative contracts or other agreements that
               provide, or could provide, her with a source of income or assets, including but not
               limited to any agreements with her book publisher and the makers and/or producers
               of the Showtime documentary “XY Chelsea.”

After Manning has produced all of the information described above, the Court shall schedule a

hearing on her Motion to Reconsider Sanctions.



       IT IS SO ORDERED.

                                                       __________________________________
                                                       The Honorable Anthony J. Trenga
                                                       United States District Judge
Alexandria, Virginia

June ____, 2019
